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                    IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION

BRIAN JOSEPH HUFFMAN, ESQ., as                )
Administrator of the Estate of                )
ELIUD MONTOYA-ARCOS, Deceased,                )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )    CIVIL ACTION NO. 4:18-CV-184
                                              )
THE DAVEY TREE EXPERT COMPANY;                )
WOLF TREE, INC.; MARJORIE L.                  )
CONNER; CHRISTOPHER BRANCH;                   )
OSCAR CRUZ; and PABLO RANGEL,                 )
a/k/a PABLO RANGEL-RUBIO,                     )
                                              )
       Defendants.                            )
                                              )

           PLAINTIFF’S NOTICE OF INTENT TO FILE SUR-REPLY

       Pursuant to Local Rule 7.6, Plaintiff hereby serves notice that he intends to

file one consolidated sur-reply to Defendants’ replies in support of their June 2024

motions to dismiss, specifically: Defendant Marjorie L. Conner’s reply brief in further

support of her motion to dismiss, filed on August 22, 2024 (Doc. 230); Defendant

Christopher Branch’s reply brief in further support of his motion to dismiss, filed on

August 23, 2024 (Doc. 231); Defendant Oscar Cruz’s reply brief in support of his

motion to dismiss Plaintiff’s Amended Complaint, also filed on August 23 (Doc. 232);

and Defendants The Davey Tree Expert Company and Wolf Tree, Inc.’s reply in

further support of their motion to dismiss the Amended Complaint, also filed on

August 23 (Doc. 233).

                              [Continue onto next page.]
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 Respectfully submitted this 3rd day of September, 2024.

                          GRIFFIN DURHAM TANNER & CLARKSON, LLC

                          /s/ James D. Durham
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                          Attorneys for Plaintiff




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                          CERTIFICATE OF SERVICE

      I certify that I have this day served the foregoing through the Court’s ECF

system upon all counsel of record, and that I have served the foregoing by U.S. mail

on the following pro se Defendant:

                           Pablo Rangel-Rubio (Pro Se)
                             Register No. 22405-021
                                   USP Atwater
                          Post Office Box 019001 6A-123
                            Atwater, California 95301

      This 3rd day of September, 2024.

                                GRIFFIN DURHAM TANNER & CLARKSON, LLC

                                /s/ James D. Durham
                                James D. Durham
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